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                                 UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICUT
                                              CRIMINAL HEARING MINUTES

     June 7, 2024
Date ________________________________                           3:24CR108
                                                          Case #________________________________ Dft #__________
                                                                              Jeffrey A. Meyer
                                                              Honorable Judge _____________________________________

       UNITED STATES OF AMERICA                                        Diahann Lewis
                                                          Deputy Clerk ________________________________________
                    Vs.                                            J. Francis; D. Novick
                                                              AUSA ______________________________________________
K. Diamantis
________________________________________                                            Provenzano
                                                              Counsel for Defendant ________________________________

                                                                                     ☐ Retained     ☐ CJA          ☐FPD
          4:32
Start Time__________          4:43
                     End Time ____________                    USPO ______________________________________________
Recess (if more than ½ hr) ________ to _________                               Diana Huntington
                                                              Reporter/ECRO/FTR___________________________________
                                                              Interpreter______________________ Language ____________
                          11
Total Time _________hours _________minutes                    Hearing held ‫܆‬in person ‫ ܆‬by video ‫܆‬by telephone
HEARING AND TIME
 ☐ Initial Appearance ____         ‫ ܆‬Initial Appear. Rule 5     ____   ☐ Detention        ____     ☐ Arraignment     ____
 ☐ Motion                 ____     ☐ Bond                       ____   ☐ Waiver/Plea      ____     ☐ Probable Cause ____
 ☐ Change of Plea         ____     ☐ Conflict                   ____   ☐ Evidentiary      ____     ☐ Extradition     ____
 ☐
 x Status Conference ____          ☐ Competency                 ____   ☐ In Camera        ____     ☐ Frye            ____


☐ Arrest or ‫܆‬Self surrender Date____________           ☐ Rule 5 charging district ______________________________
‫܆‬Case Unsealed                                         ‫ ܆‬Order appointing FPD
☐ Deft failed to appear                                ☐ Order appointing Attorney ___________________________
☐ CJA23 financial affidavit filed under seal           ☐ Set ATTY flag and notify grievance clerk
☐ Oral Brady Order entered and paper to issue          ‫ ܆‬Defendant waives right to proceed in-person
FILED IN COURT
 ☐ Complaint with affidavit              ‫ ܆‬Sealed Complaint with affidavit  ☐ Waiver of Indictment (case opening)
 ☐ Felony Information                     ☐ Misdemeanor Information              ‫ ܆‬Waiver of Indictment (mid-case)
 ☐ Superseding Information                ☐ Substitute Information               ☐ Sealed Information

PLEA
Plea entered of ☐ NOT guilty ☐ guilty ☐ nolo contendere; As to counts ________________________
Plea agreement letter ‫ ܆‬filed ☐ under seal ☐ to be filed
☐ Petition to enter guilty plea filed

SENTENCING
‫܆‬Sentencing set for ________________________ at _______________
‫܆‬Probation 246B Order for PSI & Report filed
‫܆‬Special Assessment of $________ on count(s) _______. Total of $_________ ☐ due now ☐ due at sentencing


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ORDERS
☐ Waiver of Rule 5 hearing filed
☐ Defendant motions due__________________, Govt. responses due __________________
☐ Scheduling Order filed ☐ to be filed; ☐Sentencing scheduling order filed
☐ Hearing on pending motions scheduled for ___________________ at _________________
☐ Jury Selection set for ________________________ at__________________ before Judge______________________
‫ ܆‬Defendant’s motion for waiver of 10-day notice filed; ☐ Granted ‫܆‬Denied       ☐Advisement
______________________ hearing set for ___________________ ; continued until_____________________________

DETENTION
☐ Govt’s motion for pretrial detention filed ☐ Granted ☐Denied ☐Advisement
☐ Order of detention filed
☐ Bond set at $_______ ☐ reduced to $________ ; ☐Non-surety ☐Surety            ☐Personal recognizance
☐ Bond ☐revoked ☐reinstated            ☐continued     ☐modified
☐ No bond set at this time
☐ Order of temporary detention pending hearing filed
☐ Defendant detained
☐ Defendant ordered removed/committed to originating/other District of ______________________________

CONDITIONS OF BOND
☐ Connecticut restricted travel extended to______________________ upon obtaining permission from the USPO. A
    motion for any other travel with copies to the government and USPO must be filed and approved by the Court.
☐ Defendant must reside at ______________________________________________________________________.
☐ Defendant must report to USPO ____times a ☐week ☐month; ☐by telephone ☐in person ☐ at USPO discretion
☐ Defendant must surrender passport to the USPO ☐ must not apply for passport
☐ Defendant must refrain from possessing firearms or dangerous weapons
☐ Defendant must refrain from use or unlawful possession, or distribution of narcotic drug
☐ Defendant must maintain employment or actively seek employment
☐ As set forth in the Order Setting Conditions of Release
☐ Other _______________________________________________________________________________________
________________________________________________________________________________________________

MOTIONS
☐ Motion for ___________________________filed by☐ USA ☐defendant, ☐granted                        ☐denied ☐advisement
☐ Motion for ___________________________filed by☐ USA ☐defendant, ☐granted                        ☐denied ☐advisement
☐ Motion for ___________________________filed by☐ USA ☐defendant, ☐granted                        ☐denied ☐advisement
☐ Motion for ___________________________filed by☐ USA ☐defendant, ☐granted                        ☐denied ☐advisement

NOTES
jury selection rescheduled to 2/6/2025; substantive motions due 9/16/2024; counsel to file proposed scheduling order within 1 week.
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